           Case 2:21-cv-02525-JTF-tmp Document 72 Filed 01/09/23 Page 1 of 6                                                                                    PageID 442
AO 133       (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                 Western District
                                                                  __________      of Tennessee,
                                                                               District         Western Division
                                                                                        of __________
                               Lisa Whitehead                                                    )
                                                                                                 )
                                          v.                                                     )         Case No.: 2:21-cv-02525-JTF-tmp
                         Sterling Jewelers, Inc.                                                 )
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                         01/03/2023                  against         Plaintiff                                ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                    2,476.50

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                               TOTAL            $               2,476.50

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         ’          Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
             s/ Attorney:             Luci L. Nelson
                          Name of Attorney: Luci L. Nelson
For:                                                     Sterling Jewelers, Inc.                                                                     Date:     1/9/2023
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
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AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                       Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                   Total               Total                Total        Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost


                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                    TOTAL                       $0.00


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
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         Veritext, LLC - Southeast Division
         Tel. 800.743.3376 Email: billing-carolinas@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Luci L. Nelson Esq                                                                                                             Invoice #:                6091667
                     Ogletree Deakins Nash Smoak & Stewart PC
                                                                                                                                            Invoice Date:               10/10/2022
                     300 N Main St
                     The Ogletree Building, Suite 500                                                                                       Balance Due:                    $220.00
                     Greenville, SC, 29601


         Case: Whitehead, Lisa v. Sterling Jewelers, Inc (2:21cv02525JTFTMP)                                                                  Proceeding Type: Depositions

         Job #: 5470571        |   Job Date: 10/7/2022 | Delivery: Normal                                               Client Matter #:                          053648.000026
         Location:                 Charleston, SC
         Billing Atty:             Luci L. Nelson Esq
         Scheduling Atty:          Luci L. Nelson Esq | Ogletree Deakins Nash Smoak & Stewart
                                   PC
         Witness: Lisa Whitehead                                                                                              Quantity                   Price              Amount

                     Cancellation of Reporting Services                                                                             1.00              $175.00               $175.00

                     Veritext Virtual Cancellation                                                                                  1.00                $45.00                $45.00

         Notes:                                                                                                                               Invoice Total:                $220.00
                                                                                                                                                   Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                  $220.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Pay by Check - Remit to:                               Pay By ACH (Include invoice numbers):                                           Invoice #: 6091667
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 10/10/2022
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $220.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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         Veritext, LLC - Southeast Division
         Tel. 800.743.3376 Email: billing-carolinas@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Luci L. Nelson Esq                                                                                                             Invoice #:                6114174
                     Ogletree Deakins Nash Smoak & Stewart PC
                                                                                                                                            Invoice Date:               10/19/2022
                     300 N Main St
                     The Ogletree Building, Suite 500                                                                                       Balance Due:                      $25.00
                     Greenville, SC, 29601


         Case: Whitehead, Lisa v. Sterling Jewelers, Inc (2:21cv02525JTFTMP)                                                                  Proceeding Type: Depositions

         Job #: 5470571        |   Job Date: 10/7/2022 | Delivery: Normal                                               Client Matter #:                          053648.000026
         Location:                 Charleston, SC
         Billing Atty:             Luci L. Nelson Esq
         Scheduling Atty:          Luci L. Nelson Esq | Ogletree Deakins Nash Smoak & Stewart
                                   PC
         Witness: Lisa Whitehead                                                                                              Quantity                   Price              Amount

                     Statement on the Record (Pages)                                                                                1.00                 $0.00                 $0.00

                     Delivery & Handling                                                                                            1.00                $25.00                $25.00

         Notes:      Sealed statement on the record                                                                                           Invoice Total:                  $25.00
                                                                                                                                                   Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                    $25.00
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information




        Pay by Check - Remit to:                               Pay By ACH (Include invoice numbers):                                           Invoice #: 6114174
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 10/19/2022
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $25.00
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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         Veritext, LLC - Southeast Division
         Tel. 800.743.3376 Email: billing-carolinas@veritext.com
         Fed. Tax ID: XX-XXXXXXX




         Bill To: Luci L. Nelson Esq                                                                                                             Invoice #:                6157661
                     Ogletree Deakins Nash Smoak & Stewart PC
                                                                                                                                            Invoice Date:                 11/7/2022
                     300 N Main St
                     The Ogletree Building, Suite 500                                                                                       Balance Due:                  $2,231.50
                     Greenville, SC, 29601


         Case: Whitehead, Lisa v. Sterling Jewelers, Inc. (2:21cv02525JTFTMP)                                                                 Proceeding Type: Depositions

         Job #: 5527858        |   Job Date: 10/17/2022 | Delivery: Normal                                              Client Matter #:                          053648.000026
         Location:                 Memphis, TN
         Billing Atty:             Luci L. Nelson Esq
         Scheduling Atty:          Luci L. Nelson Esq | Ogletree Deakins Nash Smoak & Stewart
                                   PC
         Witness: Lisa Whitehead                                                                                              Quantity                   Price              Amount

                     Original with 1 Certified Transcript                                                                        287.00                  $4.80            $1,377.60

                     Attendance - Add'l Hours                                                                                       5.00                $35.00              $175.00

                     Veritext Virtual Primary Participants                                                                          1.00              $315.00               $315.00

                     Litigation Package-Secure File Suite                                                                           1.00                $24.00                $24.00

                     Conference Suite & Amenities                                                                                   1.00              $150.00               $150.00

                     Exhibits - Scanned/Searchable/OCR                                                                           123.00                  $0.30                $36.90

                     Veritext Exhibit Package (ACE)                                                                                 1.00                $28.00                $28.00

                     Attendance - First 2 Hours                                                                                     1.00              $100.00               $100.00

                     Delivery & Handling                                                                                            1.00                $25.00                $25.00

         Notes:                                                                                                                               Invoice Total:              $2,231.50
                                                                                                                                                   Payment:                    $0.00
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                     Interest:                 $0.00
                                                                                                                                              Balance Due:                $2,231.50
         TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
         including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
         please consult http://www.veritext.com/services/all-services/services-information



        Pay by Check - Remit to:                               Pay By ACH (Include invoice numbers):                                           Invoice #: 6157661
        Veritext                                                         A/C Name:Veritext                                                 Invoice Date: 11/7/2022
        P.O. Box 71303                                              Bank Name:BMO Harris Bank
        Chicago IL 60694-1303                                 Bank Addr:311 W. Monroe Chicago, IL 60606                                  Balance Due: $2,231.50
        Fed. Tax ID: XX-XXXXXXX                                 Account No:4353454 ABA:071000288
                                                                         Swift: HATRUS44
                                                                    Pay by Credit Card: www.veritext.com


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this the 9th day of January, 2023, the foregoing was filed
electronically with the Clerk of the Court to be served by operation of the Court’s electronic filing
system upon the following:

                                      Tressa V. Johnson
                                       Kristy L. Bennett
                               JOHNSON AND BENNETT, PLLC
                                 1407 Union Avenue, Suite 807
                                     Memphis, TN 38104
                                    tressa@myjbfirm.com
                                    kristy@myjbfirm.com

                                       Attorneys for Plaintiff


                                                 s/ Luci L. Nelson _________________________
